1 JIVAKA CANDA_l:*"l:’isnf SBN 225919
51 ll Telegraph zim.renne_j #215

_ Oal<.land._._, CA 911-609
Telephone: (510) 654-4129
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5 Attorney for Plaintiff ABHINAV BHATNAGAR
6 _
7
3 UNlTED STATES DlSTRICT COURT

9 NIRTHERN DISTRICT OF CALlF-\Rl\llA

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ll ABHH\IAV BPLsfl`l\lAGAR_5 Case No.: C07-02669 (CR_`E£)
12 - Plaintift`j

13 vs.

NOTlCE OF CHANGE G*F ADDRESS

 

1 5 his official capacity;, 0 ll3
CONTRA C.STA; and CITY 0

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14 JAS.N Il\lGRASSlAj individually and in §
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16 SAN RAM.N,, §
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17 Defendants.
13
19 _ Please take notice that as of Decemher ltj 2007,, Jival<a Can<;la}:)t:‘aa,_l attorney for li’l.€;lintift`j

20 Abhinav Bhatnagar,, has changed his address for service of notices and documents in the ahove-

21 captioned action The new address of _lival<a Candappa is: 46 Shattncl§ Sqnait‘e9 Snitc 15,
22 Bet'l¢;elcy9 California 94704§ 'Eclc§hone: (510) 931-»1300; Fax: (510) 901@1017¢ All notices

23 and documents regarding the action should he sent to the new address

 

   

24 Dated: November 275 2007 By:

2 5

2 7 _t _. _. ____

2 8 Attorney for Plaintit`f

No'ncn on N…n o…an_nns m ' l n in n casa Na: t…o:s (C.;:!-:_

 

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ll

PROOF 011 SERVECE
Re: Bhamdgar v. ]ngmssz`a, er r;tZ.5 Case No. C 07--02669 (CRB)

15 the undersigned5 declare:
1 am an active member of the State Bar of California and am not a party to this action l\/ly
business address is: 46 Shattucl<_ Square5 #155 Berl<eley5 CA 94704. ln Noyernher 275 20075 1
caused to be delivered by United States l\t/lail5 at Berkeley_,., Cr-tlifornia5 a copy of the:

NO"HCE OF CHANGE OF ADDRESS

addressed to:

l\/lr. Gregory l-larvey l\/lr. J ames Fitzgerald5 lll

Asst. County Counsel 'Mcl\lamara Dodge et al.. 15LP
Contra Costa County P BoX 5233

65 l Pine Street5 9th Floor Walnut Creel<;5 CA 94596-1233

Martinez,, CA 94553

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l\/ls. Jenny C. Huang

233l Telegraph Avenue
Oal<land,, CA 94609

l declare under penalty of perjury under the laws of the State of Calit`ornia that the

foregoing is true and correct Executed November 275 20075 at Berkeley5 California.

  

"""J'Waka Candf:llflli'»°"~'51

MM

MHL.'T-'M:

No'rrcn Or‘ annnass Casa Na: Cor»~ozéés (C

 

